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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                                                                    Criminal No. 07-cr-20094-3
                       Plaintiff,
                                                                    Hon. Mark A. Goldsmith
v.                                                                  United States District Judge

MONTAE DESHONE LEEPER,

                  Defendant.
____________________________________/

                            ORDER TO FILE PROPER MOTION

        Following his guilty plea to five counts of distributing cocaine, in violation of 21 U.S.C.

§ 841(a)(1), and one count of conspiracy to distribute cocaine in violation of 21 U.S.C.

§§ 841(a)(1) and 846, the Court sentenced Defendant Montae Deshone Leeper to a term of 120

months imprisonment.

        Defendant subsequently sent two pro se letters to the Court requesting certain relief. The

letters did not cite any legal authority. The Court, however, directed Defendant to file a proper

motion if Defendant still desired the sought relief. 5/27/2010 Order (Dkt. 190). The Court cited

Rule 47(a) of the Federal Rules of Criminal Procedure, which requires that “[a] party applying to

the court for an order must do so by motion.” The Court also required that any filed motion

comply with applicable federal and local court rules. Id. Defendant did not file a motion

thereafter.

        Approximately three years after the Court’s order, the Court received another pro se letter

from Defendant. In the letter, Defendant stated that he was “writing in regards of the recent

ruling of retroactivity regarding the crack law for statutory mandatory minimum sentences.”



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5/29/13 Letter (Dkt. 211). Defendant asked whether he “qualif[ied] for any relief in this matter,”

and, if so, if the Court could “appoint [him] counsel to file a motion on [his] behalf or inform

[him] on any information on how [he] may be able to benefit.” Id. The letter did not contain any

citations to legal authority.

        In light of the Court’s prior order, the Court reiterates that Defendant must file a proper

motion — with citation to authority — to the extent he still seeks the relief requested. The Court

will not consider pro se letters, rather than proper motions, sent to the Court, and the Court will

disregard any such future letters. Defendant must comply with Rule 47(a) of the Federal Rules

of Criminal Procedure, as well as any other applicable federal and local court rules, to the extent

he seeks relief of any form. Accordingly, the Court directs Defendant to file a proper motion if

he still seeks the relief requested in his pro se letter.

        SO ORDERED.

Dated: November 26, 2013                                    s/Mark A. Goldsmith
       Flint, Michigan                                      MARK A. GOLDSMITH
                                                            United States District Judge

                                   CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on November 26, 2013.

                                                            s/Deborah J. Goltz
                                                            DEBORAH J. GOLTZ
                                                            Case Manager




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